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JOURNAL

of the

House of Representatives
of the

Seventeenth Legislature
of the

Territory of Hawaii

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Special Session 1933

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COMMENCED ON MONDAY, THE THIRTIETH
DAY OF OCTOBER, AND ENDED ON
+. THURSDAY, THE ELEVENTH 6
DAY OF JANUARY

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port of the majority of the Committee was adopted. Senate Bill
No, 31 passed Second Reading, and was placed on the order of the
day for Thursday, January 4, 1984, for Third Reading.

Mr. Beebe, for the Committee on Judiciary, reported on
House Bill No, 70, recommending its passage with certain amend-
ments (Stand. Com. Rep. No. 89), as follows:

Honolulu, T. H., December 20, 1933,

Honorable Herbert N. Ahuna,
Speaker, House of Representatives.

Sir:

. Your Committee on Judiciary, to which wa's referred House
Bill No. 70, entitled “An Act regulating the sale, transfer and
hossession of firearms and ammunition, and repealing Sections
2136, 2137, 2198, 2139, 2140, 2141, 2142, 2143, 2144, 2145, 2146 and
2147, Revised Laws of Hawaii 1925, Act 206, Session Laws of Ha-
‘wail 1927, and Act 120, Session Laws of Hawaii 1933”, begs leave
to report as follows: ;

The purpose of the Bill is to give the law enforcing agencies
of the Terrilory a better means of controlling the sale, transfer
and possession of firearms and ammunition. Jt provides for the
registration of all firearms now possessed by persons living in the
Territory, prohibits the subsequent acquisition of firearms other
than shotguns by non-citizens and provides an effective method
of registration, etc.

Your Committee recommends passage of the Bill, subject to
the following amendments:

1. Section 3, line 9 of the printed Bill, insert after the
word “county”, the following: “other than the City
and County of Honolulu”;

2. Section 3, line 24 of the printed Bil, insert after the
- word “counties”, the following: “other than the City
and County of Honolulu”;

3. Section 3, line 28 of the printed Bill, after the word
“counties”, insert the following: “other than the City
and County of Honolulu”: :

4 Section 4, line 10 of the printed Bill, after the word
“county”, insert the following: “other than the City
and County of Honolulu”:

5. -Section 4, line 14, after the word “county”, insert the
following: “other than the City and County of Hono-
ulu”;

6. Section 4, line 18 of the printed Bill, after the sen-
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tence ending with the words “foreign nations”, insert
the following: “permits to acquire ammunition for
rifles, pistols and revolvers acquired prior to the ef-
fective date of this Act and registered in accordance
with the provisions hereof, may be granted persons of
the age of twenty years or more irrespective of -citi-
zenship”;

7. Section 4, line 22 of the printed Bill, delete the words
“under oath”;

8. Section 4, line 46 of the Printed Bill, delete the words
“forty-eight hours", and insert in lien thereof “five
days”;

9. Section 8, line 4, after the word “county”, insert the
following: “other than the City and County of Hono-
lulu”; ~

10, Section 12, line 4, after the word “county”, insert the
the following: “other than the City and County of

Honolulu”.
Respectfully submitted, i
B. H. BEBBE, Chairman;

W. H. ENGLE, |

GEORGE H. HOLT, Jr,
THOS, SAKAKIHARA,
O. P. SOARES.

On motion by Mr. Beebe, seconded by Mr. Borthwick, the
report of the Committee was adopted. House Bill No. 70, as
amended, passed Second Reading, and was placed on the order
of-the day for Thursday, January 4, 1934, for Third Reading.

Mr. Beebe, for the Committee on Judiciary, reported on Sen~-
ate Bill No. 60, recommending its passage (Stand. Com. Rep. No.
90), as follows:

Honolulu, T. H., December 20, 1933.

Honorable Herbert N. Ahuna,

Speaker, House of Representatives.
Sir:

Your Committee on Judiciary, to which was referred Senate
Bill No. 60, entitled “An Act to amend Section 3463 of the Revised
Laws of Hawaii 1925, as amended, relating to powers of the fire
marshall”, begs leave to report as follows:

The existing law now provides that the fire marshall “shall
have the power to administer oaths and affirmations to any per-
son appearing as a witness, and false swearing shall be prosecuted
